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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION
                                                                                              D\SRC
TEXAS LEAGUE OF UNITED LATIN                                                              -




AMERICAN CITIZENS; NATIONAL
LEAGUE OF UNITED LATIN
AMERICAN CITIZENS; and JULIE
HILBERG, Individually and on Behalf
of Others Similarly Situated,

       Plaintiffs,                                      CIVIL ACTION NO. SA-19-CA-00074-FB



DAVID WHITLEY, in his Official Capacity
as Secretary of State for the State of Texas;
and KEN PAXTON, in his Official Capacity
as Attorney General for the State of Texas,

       Defendants.

                                              ORDER

       Before the Court is the issue of concluding the preliminary injunction hearing. The Court will

hear the remainder of the testimony of Mr. Keith Ingram and the testimony of Ms. Betsy Schonhoff, and

rebuttal, if any, beginning at 9 a.m. on Monday, February 25, 2019.

       Each side will be allowed up to one hour for closing arguments. Plaintiffs will open for thirty

minutes, followed by the defense time, and closing of thirty minutes by plaintiffs.

       It isso ORDERED.

       SIGNED this 22nd day of February, 2019.




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                                                 STATES DISTRICT
